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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

United States of America

       v.                                      Case No. 2:20-cr-30

Radoslav Boev

                                  OPINION AND ORDER
       Defendant was arrested in the Southern District of New York on
the criminal complaint filed in the instant case.                   On January 16,
2020, a United States magistrate judge in that district held a
detention hearing and ordered that defendant be detained.                         On
February 18, 2020, a federal grand jury in the Southern District of
Ohio   returned        a    one-count   indictment    charging     defendant    with
conspiracy        to       possess   with    intent     to     distribute     gamma-
hydroxybutyric acid (“GHB”), a Schedule I controlled substance
commonly referred to as the “date rape drug,” in violation of 21
U.S.C. §§846, 841(a)(1) and 841(b)(1)(C).                    Following defendant’s
arraignment on this charge in this district, the magistrate judge
ordered that the defendant be continued on detention.
       Defendant previously filed a motion for emergency release from
custody     due   to       the   COVID-19   pandemic,   relying     on   18   U.S.C.
§3142(i), which states:
       The judicial officer may, by subsequent order, permit the
       temporary release of the person, in the custody of a
       United States marshal or another appropriate person, to
       the extent that the judicial officer determines such
       release to be necessary for preparation of the person’s
       defense or for another compelling reason.

Defendant requested that he be permitted to reside with his mother
in Queens, New York, under home confinement.
       In denying the motion, this court agreed with the finding of
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the magistrate judge that the government had proven by clear and
convincing evidence that no condition or combination of conditions
of release would reasonably assure the safety of any other person
and the community, and by a preponderance of the evidence that no
condition or combination of conditions of release will reasonably
assure the defendant’s appearance as required. The court concluded
that the evidence against the defendant is strong, and that the
circumstances of this case and the statutory factors in §3141(g)
warranted the defendant’s detention.               The court observed that
defendant failed to allege that he had any particular health
conditions which place him at greater risk if he contracts COVID-
19, nor had he shown that the facility where he was detained was
unprepared to implement suitable quarantine procedures for inmates
who test positive. Defendant also did not show how living with his
mother in New York would mitigate his risk of infection.
     Defendant        has   now   filed   a   motion   asking    the     court   to
reconsider its previous denial of emergency release due to the
COVID-19 pandemic.          Defendant has presented medical records from
2016 documenting that he was diagnosed as having a deviated septum.
Defendant alleges that this condition significantly affects his
breathing and puts him at increased risk of contracting COVID-19.
The government has filed a response in opposition to the motion.
     Under 18 U.S.C. §3142(e), a judicial officer shall order the
detention    of   a    defendant    pending    trial   if   he   finds    that   no
condition or combination of conditions will reasonably assure the
appearance of the defendant a s required or the safety of the
community.    Under 18 U.S.C. §3142(g), factors to be considered
include the nature and circumstances of the offense charged; the


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weight of the evidence against the defendant; the history and
characteristics of the defendant, including family and community
ties, residence in the community, employment and criminal history,
and the nature of any danger to persons in the community which
would be posed by defendant’s release.
       Subject to rebuttal by the defendant, there is a presumption
in favor of pretrial detention if the judicial officer finds there
is probable cause to believe that the person committed an offense
for which a potential maximum term of ten years or more is
prescribed by the Controlled Substances, Act, 21 U.S.C. §801 et
seq.   18 U.S.C. §3142(e).         The return of an indictment in this case
charging     an     offense   under      21   U.S.C.     §846    was   sufficient    to
establish probable cause to believe that the defendant committed an
offense that triggers the presumption in favor of detention.                        See
United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010).
       The   presumption        shifts    the     burden    of   production    to   the
defendant to show that his release would not pose a flight risk or
a danger to any person or the community.                   United States v. Woods,
230 F.3d 1361 (table), 2000 WL 1478370 (6th Cir. 2000).                             The
government is then required to demonstrate risk of flight by a
preponderance of the evidence and danger to the community be clear
and convincing evidence.           United States v. Hazime, 762 F.2d 34, 37
(6th    Cir.      1985);   18    U.S.C.       §3142(f)(2)(B).          However,     the
presumption does not vanish simply because a defendant comes
forward      with    evidence     to     rebut     it;     rather,     “the   rebutted
presumption retains evidentiary weight.”                   United States v. Dillon,
938 F.2d 1312, 1316 (1st Cir. 1991).
       Defendant is charged with conspiracy to distribute GHB, an


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offense which carries a possible term of incarceration of up to
twenty years.        The weight of the evidence against defendant is
strong.        The complaint filed in this case indicates that the
evidence includes video tapes of defendant mailing three parcels
containing GHB to a recipient in Columbus, Ohio; video tapes of
defendant mailing three additional shipments of GHB which were sent
to    a    postal   inspector       who   made   three   controlled     buys   from
defendant’s online persona “CHILLTIMES” on Darknet market sites;
the interception by Customs and Border Protection agents of two
international parcels addressed to “Rod Boev” which contained
gamma-butyrolactone, an analogue of GHB; evidence from the search
of defendant’s apartment, including numerous computers, mobile
phones electronic storage devices, laboratory equipment, mail
shipping envelopes, scales, precursor chemicals for making GHB,
nine large containers of GHB and 169 small bottles of GHB ready for
distribution; and defendant’s statements to investigators admitting
that he had been using and selling GHB for about two years.                     See
Doc. 1.
          As the magistrate judge noted in commenting on the nature and
circumstances of the offense, the defendant is charged with a
sophisticated crime committed through the use of the internet and
the dark web and access to substantial crypto-currency.                 Defendant
has a bachelor’s degree in pharmacology and began PhD studies in
molecular       medicine.     The    complaint     indicates     that   defendant
purchased precursor chemicals, sold GHB over the internet, and
manufactured GHB in his apartment.               In light of the evidence that
defendant conducted many of his criminal activities using the
internet and the dark web, the condition of home confinement would


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not provide sufficient safeguards against his continuation of these
activities.
       As to the history and characteristics of the defendant, the
pretrial services report reveals that defendant had been unemployed
for three years.        He has a history of depression and anxiety.                 He
is a Bulgarian citizen.            He has traveled outside of the United
States for vacation purposes.             In support for the argument that
defendant is not likely to flee to Bulgaria, defendant’s mother
reported that defendant does not speak Bulgarian.                 Defendant also
asserts that his passport can be surrendered.                Although defendant
may not be inclined to go to Bulgaria, that does not mean that he
does not pose a risk of flight.           The fact that defendant is facing
a substantial jail term and his permanent residence status in the
United States could be revoked if he is convicted enhances the risk
that he is likely to flee if released.               The court finds that the
nature of the offense, the statutory presumption, the history and
characteristics of the defendant, and the other statutory factors
in §3142(g) warrant the defendant’s detention.
       A defendant may request temporary release under §3142(i) based
on    compelling     circumstances.           Defendant   has    the    burden      of
establishing circumstances warranting temporary release.                    United
States v. Bothra, No. 20-1364, 2020 WL 2611545, at *2 ((6th Cir.
May 21, 2020).       The release must be temporary, that is, no longer
than needed to resolve the compelling circumstances.                   Id. (citing
United States v. Shelton, No. 3:19-cr-14, 2020 WL 1815941, at *3
(W.D. Ky. Apr. 9, 2020)). Prior to COVID-19, relief under §3142(i)
was granted “only ‘sparingly to permit a defendant’s release where,
for example, he is suffering from a terminal illness or serious


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injuries.’”    Id. (quoting United States v. Hamilton, No. 19-CR-54-
1, 2020 WL 1323036, at *2 (E.D.N.Y. Mar. 20, 2020)).                 The Sixth
Circuit noted in Bothra that courts have been “reluctant to find
that generalized fears of contracting COVID-19, without more,
constitute a compelling reason.”             Id. (citing United States v.
Smoot, No. 2:19-CR-20, 2020 WL 1501810, at *3 (S.D. Ohio Mar. 30,
2020)).
       Defendant has produced evidence that he has a deviated septum.
He claims that this places him at greater risk of contracting
COVID-19 and experiencing serious symptoms.                 However, he has
offered no medical evidence in support of this assertion.                    The
pretrial services report stated that defendant is thirty-six years
old.    He has identified no other health problems which would place
him in a high-risk category.        In addition, release under §3142(i)
must be temporary.      Defendant did not request a temporary release
with a certain end date.          The court assumes that defendant is
asking to be released on home detention until his trial.               However,
there is no clear end to the COVID-19 outbreak in sight.                         If
defendant is convicted at trial and the court orders his detention,
there is no guarantee that the COVID-19 risk in the jails and
prisons will have abated by then.
       Defendant is currently confined in the Butler County Jail.
The    government   contends    that   the    officials    there    have   taken
aggressive steps to combat the spread of the virus by limiting
interactions with individuals who may be infected.                 As defendant
indicated in his previous motion, access to jails is limited to
attorney visits and this policy is strictly enforced. According to
the minutes of the May 22, 2020, meeting of this court’s Executive


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Pandemic         Team,     the     Butler       County        Jail   currently        houses
approximately 800 inmates. Chief Deputy Marshal Stuart reported as
of May 22, 2020, one inmate was in isolation (the designation for
suspected cases of COVID-19), no inmates had tested positive or
were quarantined, and no staff members had tested positive or were
quarantined.            Defendant has produced no evidence that there are
currently cases of COVID-19 among the inmates at the Butler County
Jail, or that officials at the jail are not taking adequate
precautions against the spread of COVID-19.
        In contrast, defendant seeks to return to New York City.
Placing defendant on home confinement at his mother’s residence
would not prevent others from visiting him there, which may expose
him    to     the     disease.      The     evidence        of    defendant’s     criminal
activities casts doubt on whether he would comply with any shelter-
in-place restrictions.             Thus, defendant’s release in the community
would not guarantee defendant’s safety and good health.                          Defendant
asserts that the number of new COVID-19 cases in New York is
decreasing.           However, according to the website for the Center for
Disease Control, the State of New York has, to date, 167,467 total
cases       of    COVID-19,      and      8,130       total      COVID    deaths.       See
https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-
us.html (last checked June 2, 2020).                          Considering all of the
circumstances, defendant is arguably less vulnerable                           to COVID-19
while detained in the Butler County Jail than he would be if he is
released on home confinement in New York City.
        Defendant’s speculation concerning his vulnerability to COVID-
19    while      in    detention    due    to       his   deviated    septum     is   not   a
compelling        reasons    for    his     temporary       release      under   §3142(i),


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particularly in light of the court’s finding under §3142(e) that no
condition or combination of conditions will reasonably assure
defendant’s appearance or the safety of the community. Defendant’s
motion   for   reconsideration     of       the   denial   of   his   motion   for
emergency motion for release due to COVID-19 (Doc. 22) is denied.




     It is so ordered.


Date: June 3, 2020                          s/James L. Graham
                                      James L. Graham
                                      United States District Judge




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